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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

MARC R. LABGOLD,                             )
                                             )
              Plaintiff,                     )
                                             )
v.                                           )       Civil Action No. 1-16-cv-01469 (AJT/IDD)
                                             )
LINDA D. REGENHARDT, et al.,                 )
                                             )
              Defendants.                    )


                           MEMORANDUM OPINION AND ORDER

       Pending before the Court are Defendants' Motion to Dismiss for Lack of Subject Matter

Jurisdiction [Doc. No. 8] and Plaintiff's Motion for Leave to File First Amended Complaint

[Doc. No. 19] (the "Motions"). Plaintiff Marc Labgold ("Plaintiff' or "Dr. Labgold") asserts a

claim for legal malpractice against his former bankruptcy counsel, Defendant Linda Regenhardt

("Ms. Regenhardt"), and her firm, Defendant Linda Regenhardt, LLC (collectively,

"Defendants"). Defendants removed this action from the Circuit Court for the City of

Alexandria and now move to dismiss on the grounds that Dr. Labgold lacks standing because his

malpractice claim is property of his bankruptcy estate and can therefore be brought at this point

only by a trustee in bankruptcy as an asset of his bankruptcy estate. The Court held a hearing on

March 10, 2017 on Defendants' Motion to Dismiss for Lack of Subject Matter Jurisdiction,

following which it took the matter under advisement. Plaintiff then filed his Motion for Leave to

File First Amended Complaint in an attempt to address the issues raised in response to the initial

Complaint, as they more fully developed at the March 10, 2017 hearing.

       Upon consideration of the Motions, the memoranda in support thereof and in opposition

thereto, the arguments of counsel at the March 10, 2017 hearing, and for the reasons below, the
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Court concludes that ( 1) Plaintiff's claim for legal malpractice accrued no later than with the

filing of his bankruptcy petition and therefore was, and remains, the property of the bankruptcy

estate; (2) because his malpractice claim remains property of the bankruptcy estate, Plaintiff

lacks standing to bring his malpractice claim and the Court lacks subject matter jurisdiction over

this claim; (3) because it lacks subject matter jurisdiction over this removed case, the Court must

remand the action to the state court from which it was removed; and (4) Plaintiff's attempt to

amend his Complaint, as set forth in his proposed First Amended Complaint ("Amended

Complaint"), would be futile because Plaintiff's malpractice claim, as alleged in the Amended

Complaint, constitutes the same cause of action that is property of the bankruptcy estate, even

though he now alleges that only acts of malpractice after the filing of the bankruptcy petition

caused his injury. Therefore, the Defendants' Motion to Dismiss for Lack of Subject Matter

Jurisdiction is GRANTED in part, insofar as the Court concludes that the plaintiff does not have

standing to bring his claim, and is otherwise DENIED; Plaintiff's Motion for Leave to File First

Amended Complaint is DENIED; and this case is REMANDED to the Circuit Court for the City

of Alexandria.

                                 II.     BACKGROUND

       The following alleged facts are taken as true for the purposes of Defendants' Motion to

Dismiss for Lack of Subject Matter Jurisdiction:

       Plaintiff is a patent attorney who in 2006 became the chief executive officer of a

biotechnology company, Antara Biosciences ("Antara"), which be left in July 2007. Antara was

unsuccessful. Investors and former employees filed a series of lawsuits against Antara in late

2007. In September 2012, Plaintiff was joined as a defendant in the lawsuit by the former


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employees. On December 21, 2012, Plaintiff married his wife. On January 7, 2013, on the

advice of counsel not party to this action, he transferred ownership of his house (the "Property")

to himself and his wife as tenants by the entirety. At this time, Dr. Labgold's law practice was

generating significant monthly revenues, and he expected the Antara litigation against him to be

settled. In Spring 2013, the Antara litigation settlements failed, and the monthly revenues from

his law practice significantly declined.

       In April 2013, Dr. Labgold met with Ms. Regenhardt to discuss his financial situation and

the possibility of filing for Chapter 11 bankruptcy. Ms. Regenhardt learned of Dr. Labgold's

transfer of the Property at this meeting. Dr. Labgold retained Ms. Regenhardt on April 23, 2013

and signed a written agreement with respect to that representation. In June 2013, Dr. Labgold

informed Ms. Regenhardt that he wished to proceed with the preparation and filing of a Chapter

11 bankruptcy petition, which she began preparing with information provided by him. Based on

her review of the information, Ms. Regenhardt advised Dr. Labgold to immediately file a

Chapter 7 bankruptcy petition. She then prepared the Chapter 7 petition that he filed on July 23,

2013. In preparing the petition, Ms. Regenhardt understated Mrs. Labgold's income and did not

fully list the assets of Dr. Labgold's law practice. She also failed to disclose the transfer of the

Property, even though it was transferred within one year of filing the petition. The bankruptcy

trustee discovered this transfer in the bankruptcy proceedings and, on January 27, 2014, brought

an adversary complaint in those proceedings alleging that the transfer was made within two years

of the filing of the petition with the intent to hinder, delay, or defraud creditors, or, alternatively,

that it was made for less than its value while Dr. Labgold was insolvent. Dr. Labgold eventually

paid $180,000 to the bankruptcy estate to settle this adversary complaint.


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        Also on January 27, 2014, the U.S. trustee filed another adversary complaint against Dr.

Labgold in the bankruptcy proceedings, this time objecting to his discharge on the grounds that

his transfer of the Property was made within one year of the filing of the petition with the intent

to hinder, delay, or defraud creditors. The United States Bankruptcy Court for the Eastern

District of Virginia tried that claim on December 11, 12, and 15, 2014. At that trial, Ms.

Regenhardt testified that she made a number of mistakes in the petition, including failing to

disclose the transfer of the Property, which Dr. Labgold had disclosed to her. Despite this

testimony, Ms. Regenhardt never advised Dr. Labgold to amend the petition or about the

consequences of not amending it.

         On January 15, 2015, the Bankruptcy Court denied Dr. Labgold's discharge of his

unsecured debts in excess of $600,000 pursuant to 11 U.S.C. § 727(a)(2)(A). As the basis for its

decision, the Bankruptcy Court found "given the circumstances surrounding the transfer, that the

[Plaintiff] intended to hinder, delay or defraud his creditors when he transferred the [Property] to

 himself and his wife as tenants by the entirety." [Doc. No. 27-1 at 15.] In support of that

 finding, the Bankruptcy Court concluded that "[t]he transfer of the [Property] evidenced virtually

all of the badges of fraud with the exception of concealment of the transfer." [Id. at 11.] It also

 rejected Plaintiff's claim that the transfer was for estate planning purposes. [Id. at 12.] It further

 found that "[t]he [Plaintiff], while not a real estate attorney, went to law school and would have

understood that the effect of a transfer of property to himself and his wife as tenants by the

entirely would have been to put the property beyond the reach of the Antara creditors, who were

not joint creditors of the [Plaintiff] and his wife." [Id at 15.] Given the magnitude of his

 liabilities listed in his petition relative to his listed assets and his additional, unlisted potential


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liabilities to the Antara creditors, the Bankruptcy Court found "unconvincing" Plaintiffs claim

that he believed that in the event of a judgment in the California Antara litigation, he, along with

his co-investor in Antara, would have been able to satisfy the judgment. [Id. at 13.] On August

14, 2015, this Court affirmed the decision of the Bankruptcy Court, as did the United States

Court of Appeals for the Fourth Circuit on April 5, 2016. On October 4, 2016, Dr. Labgold's

bankruptcy case was closed and the trustee was dismissed without any disclosure of his

malpractice claim against Ms. Regenhardt. Because he was not discharged, the claims against

Dr. Labgold in the Antara litigation continued, as a result of which Dr. Labgold has expended

substantial sums in settlement and attorneys' fees.

        On July 21, 2016 (before the bankruptcy case was closed and the trustee dismissed), Dr.

Labgold filed this action in the Circuit Court for the City of Alexandria, which Defendants

removed to this Court on November 28, 2016. In his Complaint, Plaintiff alleges that Ms.

 Regenhardt committed various acts of malpractice, both before and after the filing of the

bankruptcy petition, that caused his unsecured debts not to be discharged. See Compl. [Doc. No.

 1-1] ,Ml 19-37. In particular, Dr. Labgold alleges that Ms. Regenhardt committed malpractice

 when she advised Dr. Labgold to file the Chapter 7 bankruptcy petition within a year of the

 transfer of the Property and thereafter with respect to her post-petition advice concerning how to

 handle the bankruptcy litigation surrounding that transfer. He alleges that "Ms. Regenhardt's

 most egregious error-and the reason both the Bankruptcy Court and the United States District

 Court for the Eastern District of Virginia gave for the continued denial of discharge for Dr.

 Labgold's debts-was that Ms. Regenhardt did not disclose the transfer of the real estate on the

 petition even though she knew that Dr. Labgold had transferred the property approximately six


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 month prior to the bankruptcy petition." [Id ,i 21.] He alleges that "[t]his failure led directly to

 the bankruptcy Trustee questioning Dr. Labgold's motives and credibility." [Id. ,i 22.]

                            III.    STANDARDOFREVIEW

        The party invoking the court's jurisdiction typically bears the burden of proving the

 existence of federal subject matter jurisdiction. See Ellenburg v. Spartan Motors Chassis, Inc.,

 519 F.3d 192,200 (4th Cir. 2008). The court's review of subject matter jurisdiction is generally

 based on the allegations in the complaint, taken as true,but the court may in certain

 circumstances resolve factual disputes. See Kerns v. United States, 585 F.3d 187,193 (4th Cir.

 2009) ("[W]hen a defendant asserts that the complaint fails to allege sufficient facts to support

 subject matter jurisdiction,the trial court must apply a standard patterned on Rule 12(b)(6) and

 assume the truthfulness of the facts alleged. On the other hand,when the defendant challenges

 the veracity of the facts underpinning subject matter jurisdiction, the trial court may go beyond

 the complaint, conduct evidentiary proceedings,and resolve the disputed jurisdictional facts.

 And when the jurisdictional facts are inextricably intertwined with those central to the merits,the

 court should resolve the relevant factual disputes only after appropriate discovery,unless the

 jurisdictional allegations are clearly immaterial or wholly unsubstantial and frivolous."). Here,

 because resolution of Defendants' Motion to Dismiss for Lack of Subject Matter Jurisdiction

 does not turn on factual disputes,the Court will accept as true the factual allegations in the

 Complaint.




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                                             IV.      ANALYSIS

        Under the relevant bankruptcy statute,the bankruptcy estate consists of"all legal or

equitable interests ofthe debtor in property as ofthe commencement ofthe case." 11 U.S.C. §

54 l(a)(l ). It also includes "[a]ny interest in property that the estate acquires after the

commencement ofthe case." Id. § 54l (a)(7). "The scope ofSection 541 is broad and includes

intangible property such as a cause ofaction." In re Wilson, 94 B.R. 886,888 (E.D. Va. 1989).

When a bankruptcy case closes,property that was disclosed to the trustee and not administered is

abandoned back to the debtor. 11 U.S.C. § 554(c). On the other hand,property that was not

disclosed remains the property ofthe estate even after the case is closed. See id § 554(d).

        The parties agree that Dr. Labgold did not disclose his legal malpractice claim during the

pendency ofhis bankruptcy proceeding. Consequently,ifthat claim was the property ofthe

bankruptcy estate,it remains the property ofthe estate,not ofDr. Labgold. The issue is

therefore whether Dr. Labgold's claim for malpractice existed at the time his Chapter 7 petition

was filed. That question is determined by when that cause ofaction accrued under Virginia law.

In this regard,the Court follows the weight ofauthority in holding that ifa malpractice claim

accrued post-petition,it is property ofthe debtor rather than the estate and therefore not a part of

the estate. 1 See, e.g., In re Holstein, 321 B.R. 229,235 (Bankr. N.D. Ill. 2005) ("Put simply,

'(p]re-petition causes ofaction are part ofthe bankruptcy estate and post-petition causes of

action are not."') (quoting Witko v. Menotte (In re Witko), 374 F.3d 1040,1042 (11th Cir. 2004))

(alteration in original).


1 The Court recognizes that in its unpublished, non-precedential opinion in In re Richman, 117 F.3d 1414 (Table),
1997 WL 360644 (4th Cir. 1997) (per curiam), the Fourth Circuit made an alternative holding that legal malpractice
claims arising post-petition are property of the bankruptcy estate. See 4th Cir. R. 32.1 (citation of unpublished
opinions).
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       There are three elements to a legal malpractice claim under Virginia law: " 1) the

existence of an attorney-client relationship creating a duty; 2) a breach of that duty by the

attorney; and 3) damages that were proximately caused by the attorney's breach of duty."

Williams v. Joynes, 677S.E.2d 261, 264 (Va. 2 009).

       A legal malpractice claim is a breach of contract claim. Shipman v. Kruck, 593 S.E.2d

319,3 22 (Va. 2 004) ("The statute of limitations for legal malpractice actions is the same as those

for breach of contract because although legal malpractice actions sound in tort,it is the contract

that gives rise to the duty."). By statute,a "right of action " in a contract claim accrues on the

date of breach. See Va. Code§ 8.01-23 0("[T]he right of action shall be deemed to accrue ...

when the breach of contract occurs in actions ex contractu and not when the resulting damage is

discovered....") In Shipman, a lawyer committed malpractice when he filed a bankruptcy

petition for the Shipmans.The issue considered by the Supreme Court of Virginia was "whether

on that date,or at a later time, the Shipmans sustained injury or damage sufficient to constitute a

cause of action." Shipman, 593 S.E.2d at 3 23. The Court reiterated that "it is immaterial

whether all the damages resulting from the negligent act were sustained at the time that act

occurred " and,relying on Va.Code§ 8.01-23 0, concluded that "[u]pon the filing of the

bankruptcy petition the Shipmans incurred a legal injury." Id at 3 23. "Although the injury

could not be delineated as a sum certain or reflected as a final judgment on the merits," it

explained,''there was injury sufficient to commence a cause of action for legal malpractice." Id

As a result,"[t]irst and foremost, the Shipmans lost control of their assets to the Bankruptcy

Trustee," and "[e]ven the Shipmans' right to bring a legal malpractice claim vested in the

Bankruptcy Trustee." Id Here, as in Shipman, Plaintiff's "cause of action for malpractice," as


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alleged in the Complaint, accrued "as of the commencement of the case," 11 U.S.C. § 541(a)(l ),

and the cause of action became property of the estate. Plaintiff therefore does not have standing

to bring that claim and the Court is without subject matter jurisdiction over it.

        In his proposed Amended Complaint, Dr. Labgold has abandoned his originally pied

theory of causation and now contends that his malpractice claim against Ms. Regenhardt is a

separate and distinct cause of action based solely on her post-petition breaches: "[T]he injury

Dr. Labgold sustained was the denial of discharge. Dr. Labgold does not allege that the denial of

discharge was caused by the improper filing of the petition. Rather, the denial of discharge was

caused by Ms. Regenhardt's breaches and advice that she provided after the petition was filed."

Pl.'s Reply in Supp. of Mot. for Leave to File First Am. Compl. [Doc. No. 27], at 3. For the

purpose of determining whether the Court would have subject matter jurisdiction over the

proposed Amended Complaint, the question therefore reduces to whether Dr. Labgold's

 malpractice claim, as alleged in his proposed Amended Complaint, constitutes the same or a

different cause of action than that which had accrued as of the filing of the bankruptcy petition

 and was therefore property of the bankruptcy estate.

        In support of his contention that he is entitled to pursue what he has alleged is a

 completely separate and distinct cause of action, Plaintiff argues that "[w]hether the denial [of

discharge in bankruptcy] was caused by Ms. Regenhardt's post-petition breaches-as Dr.

Labgold alleges-goes to the merits of the legal malpractice claim, not to standing," and that "at

the very least it is a jury question as to whether the subsequent breaches caused a distinct harm."

 [Id. at 3 & n.2.] In that regard, Plaintiff now alleges, directly contrary to his previous

 allegations, that Ms. Regenhardt's failure to disclose the transfer in the petition, ''while a breach


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 of standards of care, did not cause damage to Plaintiff' and that "[b]ut for Defendants' breaches

 of the standards of care [that are alleged to have occurred after the filing of the petition], ...the

 U.S.Trustee would not have filed the action to deny Labgold's discharge or would not have

 prevailed." [Proposed] First Am. Compl.[Doc.No. 19-1] ,i,i 18, 40.

          Plaintiffs position cannot be reconciled with the holding in Shipman. The Shipmans

 argue� as Plaintiff does here, that they were not sufficiently injured by the acts of legal

 malpractice that had occurred with the filing of the bankruptcy petition. The Supreme Court of

 Virginia rejected that claim on the grounds that as a matter of law, the Shipmans, by virtue of the

 negligent bankruptcy filing, had sustained a "legal injury" "sufficient to commence a cause of

 action for legal malpractice." Shipman, 593 S.E.2d at 323. So too here. The alleged pre-petition

 negligence caused as a matter of law a "legal injury" sufficient for a cause of action for

 malpractice to accrue. This cause of action also encompasses the alleged post-petition breaches,

 all of which amount to a continuing failure to correct the original (and principal) breach of filing

 the petition within a year of transfer of the Property. See [Proposed] First Am. Compl. [Doc.No.

 19-1] 139. Based on Plaintiff's allegations in either the Complaint or the proposed Amended

 Complaint, there is only one cause of action for legal malpractice against Defendants. That

 claim accrued no later than the filing of the Petition.2



 2 The accrual date on plaintiff's malpractice claim for the purpose ofdetermining whether it is bankruptcy estate
 property is not affected by the "continuous representation rule" that tolls the running ofthe statute oflimitations. As
 Shipman makes clear, the continuous representation rule does not alter when the legal malpractice claim comes into
 existence but rather determines the date that the statute oflimitation begins to run. Id ("In other words, the
 Shipmans could have brought an action against Krock at any time after the bankruptcy petition was filed. However,
 that does not necessarily establish the date the statute oflimitations began to run for purposes ofa legal malpractice
 action."); see also Harris v. K & K Ins. Agency, Inc., 453 S.E.2d 284, 286 (Va. 1995) ("As a general rule, the statute
 oflimitations begins to run against a cause ofaction at the time ofits accrual. But where there is an undertaking
 which requires a continuation of services, the statute oflimitations does not begin to run until the termination of the
 undertaking.") (alteration in original) (internal quotation marks omitted).
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        Plaintiff relies upon the principle,supported by case authority,that there may be multiple

 causes of action resulting from multiple breaches of the same contract. See, e.g., Waites v. Wells

 Fargo Bank, N.A., No. 2:15-cv-353,2016 WL 659084,at •2 (E.D. Va. Feb. 16,2016) ("[W]hen

 wrongful acts are not continuous but occur only at intervals,each occurrence inflicts a new

 injury and gives rise to a new and separate cause of action.") (quoting Hampton Roads Sanitation

 Dist. v. McDonnell, 360 S.E.2d 841, 843 (Va. 1987)). But that principle is premised on "[a]

 distinct wrongful act that inflicts a new injury." Id at *3. It does not apply where there is only

 one injury arising from multiple breaches of the same contract. See Kiser v. A. W. Chesterton

 Co., 736 S.E.2d 910,916 (2013) ("The mere multiplication of grounds of negligence alleged as

 causing the same injury does not result in multiplying the causes of action.") (quoting Baltimore

 Steamship Co. v. Phillips, 274 U.S. 316,321 (1927)). Here,the alleged injury in both the

 original Complaint and the Amended Complaint is the same-the denial of discharge and legal

 fees. Compare Compl. [Doc. No. 1-1] ,i,i 29,40,with [Proposed] First Am. Compl. [Doc. No.

 19-1] 11135,40. All of the alleged breaches,both pre- and post-petition,arise out of a

 continuous course of representation pertaining to a single scope of representation (plaintiff's

 bankruptcy), established through a single contract for representation. There is no distinct injury

 attributable to post-petition negligence rather than pre-petition negligence.

        Plaintiff argues that it is for a jury to determine which acts of negligence caused the

 alleged injury. But the factual allegations of both complaints make clear that the alleged injury

 flowed directly from the pre-petition breaches and that it is impossible to divorce the pre-petition

 breaches, including the filing of the petition itself, from the post-petition breaches in determining

 what caused the undesired outcome in Dr. Labgold's bankruptcy case. Indeed,based on the


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 factual allegations, it is difficult to see how the pre-petition negligence-the advice to file and

 the filing of the petition-was anything other than a "but for" cause of the alleged injury that the

 plaintiff asserts in his proposed Amended Complaint. See [Doc. No. 27-1], at 15 (where the

 Bankruptcy Court denied the discharge based on "the circumstances surrounding the transfer,"

 not the litigation posture).

         For the above reasons, the Court concludes that Plaintiff's legal malpractice claim, as

 alleged in the Complaint, was property of the bankruptcy estate under 11 U.S.C. § 54l(a)(l).

 Because Dr. Labgold did not disclose that cause of action in the bankruptcy case, it was not

 abandoned back to him upon the closing of the bankruptcy case under 11 U.S.C. § 554. The

 bankruptcy trustee is therefore the only party who can currently decide whether to bring this

 claim against Defendants. Accordingly, Plaintiff lacks standing to bring this claim, and the

 Court lacks subject matter jurisdiction over it. See Nat 'I Am. Ins. Co. v. Ruppert Landscaping

 Co., 187 F.3d 439, 441 (4th Cir. 1999) ("If a cause of action is part of the estate of the bankrupt

 then the trustee alone has standing to bring that claim."); Vanderheyden v. Peninsula Airport

 Comm'n, No. 4:12-cv-46, 2013 WL 30065, at •9 (E.D. Va. Jan. 2, 2013). For the same reasons,

 the Court concludes that it would not have subject matter jurisdiction with respect to the

 malpractice claim asserted in the proposed Amended Complaint; and Plaintiff's Motion for

 Leave to File First Amended Complaint must be denied on the grounds of futility. Because the

 Court lacks jurisdiction, it must, by statute, remand the case to state court in these circumstances.

 See 28 U.S.C. § 1447(c) ("If at any time before final judgment it appears that the district court

 lacks subject matter jurisdiction, the case shall be remanded.") (emphasis added); Ellenburg v.
 Spartan Motors Chassis, Inc., 519 F.3d 192, 200 (4th Cir. 2008) ("Of course, if the court on


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 remand concludes that it does not have subject matter jurisdiction, then it will be obligated under

 § 1447(c) to remand the case to the state court."); Roach v. W. Virginia Reg'/ Jail & Corr.

 Facility Auth., 74 F.3d 46, 49 (4th Cir. 1996) (holding that remand rather than dismissal was

 required in removed case where the district court lacked subject matter jurisdiction because of

 the Eleventh Amendment).

                                        VI.     CONCLUSION

           For the above reasons, the Court concludes that (1) Plaintiff's cause of action for legal

 malpractice was, and remains, the property of the bankruptcy estate; (2) because his malpractice

 claim remains property of the bankruptcy estate, Plaintiff lacks standing to assert his malpractice

 claim and the Court lacks subject matter jurisdiction over this claim; (3) because the Court lacks

 subject matter jurisdiction over this removed case, it must remand the action to the state court

 from which it was removed; and (4) Plaintiff's attempt to amend his Complaint, as set forth in

 his proposed Amended Complaint, is futile. Accordingly, it is hereby

           ORDERED that Defendants' Motion to Dismiss for Lack of Subject Matter Jurisdiction

 [Doc. No. 8] be, and the same hereby is, GRANTED in part and DENIED in part; it is granted to

 the extent that the Court concludes that Plaintiff does not have standing to bring his claim and

 the Court is therefore without subject matter jurisdiction; and it is otherwise DENIED; and it is

 further

           ORDERED that Plaintiff's Motion for Leave to File First Amended Complaint [Doc. No.

 19] be, and the same hereby is, DENIED; and it is further

           ORDERED that this case be, and the same hereby is, REMANDED to the Circuit Court

 for the City of Alexandria


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        The Clerk of the Court is directed to forward copies of this Memorandum Opinion and

  Order to all counsel.


                                            Anthony J. Treng
                                            United States Distri

 Alexandria, Virginia
 April 14, 2017




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